Case 1:21-cv-22440-KMW Document 27 Entered on FLSD Docket 08/04/2021 Page 1 of 12




                 IN TH E UNITED STATES D ISTRICT CO U RT FO R TH E SO UTH ER N
                          DISTRICT O F FLO RIDA M IA M I DIVISION

                                                                               FILED BY               D.C.
            DO NALD J.TR UM P,the
     Forty-Fifth Presidentofthe United States,                                       AtJ6 0j 2021
     LIND A CUAD RO S AND AM ERICAN
     CO N SERVATIVE UNIO N,                                                           ctraE
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     IND IV ID UALLY AND O N BEH A LF O F
     TH E CLA SS,
                                                       1:21-cv-22440-K M W
            Plaintiffs,

            M

         FACEBOON INC.,and M ARK
     ZUCKERBERG
            Defendants.



     M O TIO N FOR LEAVE TO FILE BR IEF A S AM ICI CUR IA E BY C HR IS SEVIER O F
     D E FA CTO ATTO R NEYS GEN EM L.JO H N GU NTER JR O F SPECIA L FO RCE S O F
       LIBERTV AND PASTO R m C H PENK O SM O F W AR RIO RS O F CH R IST O N THE
      ISSUE O F STA ND IN G IN PA RTIA L SUPPO RT A N D IN PARTIA L O PPO SITION O F
                                     TH E PLAINTIFFS

                                  ww m specialforcesonibertwcom

                      U nderstanding The Stop SocialM edia C ensorship Act:
                                https://voutu-be/c cco AlaxN teM

           Chris SevierEsq.,executive directorofDe Facto Attorneys General,John GunterJr.,

    executive directorofSpecialForcesOfLiberty M iam iDivision,and PastorRich Penkoski,

    executivedirectorofW arriorsForChristrespectfully subm itthisam icusbriefon thenarrow
    issue ofstanding,given how the originalcomplaintispled.lTheAm icifiled a law suitagainstthe

    AttorneyGeneralonthesametopic.SeeSevieret.al.v.Garlandet.J/.1:21-cv-22577(S.
                                                                               D .F.L

    1Nocounselforapartyauthoredthisbriefinwholeorinparqand noparty orcounselforaparty
    contributed m oney intended to fund thepreparation orsubm ission ofthisblief.N o person other
    than am ici,itsm em bers,oritscounselcontributed m oney intended to ftmd the preparation of
    subm ission ofthisbrief.
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     July2021).TheAmiciasktheCourttotakejudicialnoticeoftheirpendingcasebeforeandhow
     itrelatesto this controversy. The Am iciwantto help the courts in the Southern Districtm ake the

     rightdecision. In supportoftheirm otion,Amicistate asfollow s:

            A .INTER EST O F AM ICI

            Theevidenceshowsthatlawyersknow justenoughtobedangerousonanytopicunless
     theyhavelitigatedtheissue.(Seethestafflawyerswho work forGovernorDesantis,who wrote
     587072thebillwhichcreated j106.072,j287.137,andj501.2041).TheAmicihavelitigated
     Section 230 issuesand socialm edia censorship before a hostofFederalCourts,butm ost

     importantly,they have litigated the m atterbefore countlesslegislative com m itteesin the face of

     robustopposition.

            (1)SeethevideoofthehearingontheSocialM ediaCensorshipActbeforethepublic
     law scom m ittee in M issouri,which included argum entsfrom D e Facto AttorneysGeneral,

     Google,andtheHeartlandlnstittzte:(he s://w w.youmbe.coe watch?v=e4ouKoTHKzs)
            (2) Seethevideo ofthehearing beforetheCommerceComm itteein theLouisana
     Senate with testim ony by SenatorM orris,De Facto AttorneysG eneral,N etchoice,and

     (he s://a %.youmbe.coe watch?v=c-NgzhBqo s&t=8s)
            (3) Seethevideo ofthehearingbeforetheJudiciary Committeein theStateofM aine
     w ith testim ony by Rep.Sam pson and D eFacto Attorneys General.

            (huns'
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            ltis in the wake offighting in legislative com m itteesagainsttheiradversariesthatthe

     Amicihavebeen able to perfectthe language ofaproposed legislative instnzm entforall50 states

     entitled the Stop SocialM edia Censorship Act, a billparallelsthe spiritofSection 230 and

     draw sfrom itin a m anner so thatthe stattlte w illfallsquarely in the state-law exem ption under
Case 1:21-cv-22440-KMW Document 27 Entered on FLSD Docket 08/04/2021 Page 3 of 12




    subsection(e)subparagraph(3)ofScction230.(SeeAppendixA).2TheStopSocialM edia

    2l.Alabam a -Drafted asfollow sforthe 2022 legislative session:
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    z.Alaska.Draftedby SenatorShowers(R)forintroduction atthe2022 legislativesession:
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    3.Arizona.581428 sponsoredbySen.Townsend (R)-providedbyDeFactoAttorneys
    General-atthe 2021 legislative session:
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    4.Arkansas.DraftedbyChairmanSen.Clark(R)tobeintroducedatthe2023legislative
    session:
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     5.C alifornia.ln review by Sen.Grove to beintroduced atthe 2022 legislative session as
     follow s:
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     6.Colorado.To be introduced by Rep.W illiam satthe2022 legislative session asfollow s:
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    7.Connecticut.To be introduced as follow satthe 2022 legislative session:
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    8.Delaware.TobeintroducedbySen.Richardson(R)atthe2022legislativesession:
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    9.Florida.HB 33 sponsored byRep.Sabatini(R)-provided by DeFactoAtlorneysGeneral-
    atthe2021 legislative session :
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    To be introduced atthe 2022 legislative session as follow s:
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Case 1:21-cv-22440-KMW Document 27 Entered on FLSD Docket 08/04/2021 Page 4 of 12




     11.Hawaii.58357sponsored by Sen.Gabbard (D)-providedby DeFactoAttorneysGeneral
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     To be introduced atthe 2022 legislative session by Sen.G abbard asfollow s:
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     12.ldaho.110323 sponsored byRep.Nichols(R)-provided by DeFactoAttorneysGeneral-
     atthe 2021 legislative session:
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    13. Illinois.Drafted asfollows forthe 2022 legislative session:
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    14.Indiana:To be introduced atthe 2022 legislative session by Rep.Jacobs asfollow s:
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    15. Iowa.H F171 sponsored by R ep.Salm on -provided by De Facto AttorneysG eneral-atthe
    2021legislative session:
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    16.Kansas.1182322sponsoredbyRep.Gaber(R)-providedbyDeFactoAttorneysGeneral.
    To be introduced by Rep.G arberatthe 2022 legislative session asfollows:
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    17.Kentucky.SB 111sponsored by Sen.M ills(R)-providedby DeFactoAttorneysGeneral-
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    18.Louisiana.SB196sponsoredbySen.M orris(R)-providedbyDeFactoAttorneys
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    19.M aine.LD1609 sponsored by Rep.Sampson (R)-providedby DeFactoAttorneys
    General-atthe 2021 legislative session:
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    To be introduced atthe 2022 legislative session by Rep.Sam pson as follow s:
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    General-atthe2021legislative session:
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     24.M ississippi:SB 2617 sponsored by Sen.Hill(R)-providedby DeFactoAtlorneys
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     27. Nebraska.LB621sponsored by Sen.CurtFriesen (R)-provided by DeFactoAttorneys
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    28. N evada:To be introduced asfollowsatthe2023 legislative session:
    29.New Hampshire.HB133 sponsored byRep.Plett(R)-providedby DeFactoAttorneys
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    To be introduced asfollow satthe 2022 legislative session:
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    30. New Jersey.A578 sponsored by A sm .Auth -provided by De Facto AttorneysGeneral-at
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    32. N ew York. To be introduced as follow satthe 2022 legislative session:
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    edia% 20Censorship% 20A ct%a20F1N A L% 20AM EN DED% 20.pdO d1=0
     33. N orth Carolina. 5497 sponsored by Sen.Alexander -provided by D e FactoA ttorneys
    General-atthe 2021 legislative session:
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    34. N orth D akota.HB 1144 sponsored by R ep.K ading.-provided by ProfessorH am btzrger-
    atthe 2021 legislative session:
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    To be introduced asfollow satthe 2022 legislative session by Rep.Jones:
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    36. O klahom a. 58383 sponsored by Sen.Standridge -provided by D e Facto Attorneys
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     38. Pennsylvania.58604 sponsored by Sen.M astriano -provided by De Facto A ttorneys
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      39. RhodeIsland.115564 sponsored byVella-W ilkinson (D)-providedby DeFacto
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     40.South Carolina.113450 sponsored by Rep.Burns(R)-providedby DeFactoAttorneys
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     41. South Dakota. 1181223 sponsored by R ep.Jensen -provided by D eFacto A ttorneys
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    42. Tennessee. To be introduced as follow satthe 2022 legislative session:
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    43. Texas.SB12 sponsored by Sen.H ughes -provided by De Facto Attorneys General-atthe
    2021legislative session:
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    44.Utah.58228 sponsored by Sen.M cK ell -provided by De FactoA ttorneysGeneral-atthe
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    46. Virginia.To be introduccd as follow satthe 2022 legislative session by Delegate Byron:
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    Censorship Actisnotpreempted by Federal1aw and a cause ofaction broughtunderit,once

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    introduced them easureasHB 33,which isreferred to asthe Stop SocialM edia Censorship A ct,

    atthe requestoftheAmici.3


    47. W ashington.To be introduced asfollowsatthe 2022 legislative session:
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    48. W estVirginia.To beintroduced asfollow satthe 2022 legislative session by Sen A zinger:
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    49. W isconsin. To be introduced as follow satthe 2022 legislative session:
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    50. W yom ing. SF0100 sponsored by Sen.Steinm etz -provided by ProfessorHam btzrger-at
    the 2021 legislative session:
    h% s'
        .//1eg1
              'scan.co*   Y/texfSF0100/l
                                       'T2339364/W yom1
                                                      'ng-2021-SF0100-EnFossed.pdf
    To be introduced as follows atthe 2022 legislative session:
    htms://-    .&opbox.co* s/mdr58wy4wsuvh9l/20220
                                                  %20W yom ing0%20Stop0
                                                                      %20Socia1O%20M e
    diatozocensorshioo/ozoA ct.ododl=o
    3 TheAmiciconsistsprim arily ofChrist-followers,who served in the United StatesM ilitary in
    foreign theatersofw ar,nam ely on the nzle oflaw m ission,w hich ispurposed to betterenstlre a
    governm ent'scom pliance with theirhighestConstitm ionalauthority.The Amicihave continued
    thatm ission state-side inA m erica even though they no longerofticially operating underTitle 10
    jurisdictiononbehalfoftheArmedForces.TheAmiciroutinelyfilccomprehensivelawsuits
    acrossthe United States on differentcontroversialand com plex issuesthattypically concern the
    ticulttzrew ars''and FirstAm endm entissuesthatare too Eçpolitically hot''forthe
    governm ent-fundedA ttorneysGeneralto pursue. ln bringing such law suits,theAmici-without
    apology -often end up converting Article ll1Courtsinto theirown private legislativeresearch
    comm ission.Outoftheovertlow ofthe litigation pursued by the Amici,theAmicisubsequently
    draftlegislation forall50 statesand forthe federalgovernm ent,which isthen routinely
    introduced by a bi-partisan network ofsponsorsthatstretches acrossthe Country before the
    Article Ibranch.The legislation authored by theAm icithatgetspresented to the m em bersof
    legislativebranchislegallyvettedadnausem andiscalculatedtosurvivejudicialreview,if
    subsequently challenged once enacted.
            One ofthe fightsthattheAmicihave undertaken in m ultitudes ofFederalD istrictCourts
    concernsBig Tech censorship,since thisfighthas created a freedom crisisthatiseroding the
    quality oflife form illionsofAm ericans. Subsequently,theAm iciauthored a proposed bill
    called the dçstop SocialM edia Censorship A ct''thatiscustom ized fora1150 statesand is
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            B.A R GUM ENT

            n e Courthasbroad discretion to perm itanon-party to participate in an action asam icus

     curiae.See,e.g.,Fla.bytfthroughMccollum v.UnitedStatesDep'tofHealth(:
                                                                         tHum.Servs.,
     No.3:IO-CV-9I-RV/EM T,2010W L 11570635,at*1(N.D.Fla.June14,2010)(ççdistrictcourts
     havebroad discretion and the inherentauthority to allow am icito participate in appropriate

     cases'')(allowingamicitofilebriefsatthesummaryjudgmentstage).lndeed,tçgdlistrictcourts
     frequently w elcom e amicusbriefs from non-partiesconcerning legalissuesthathave potential

     ram ificationsbeyond the partiesdirectly involved orifthe am icus has Eunique inform ation or

     perspective thatcan help the courtbeyond the help thatthe law yers forthe partiesare able to

     provide.'''Sonoma FallsD evelopers,LLC v.Nev.Gold t:f Casinos, Inc.,272 F.Supp.2d 919,

     925(N.D.Cal.2003)(quotingCobellv.Norton,246F.Supp.2d59,62(D.D.C.2003)(citation
     omittedl).Nospecialqualificationsarerequired;anindividualseekingtoappearasamicusmust
     m erely m ake a show ing thathisparticipation is usefulto or otherwise desirable to the court. In re

     RoxfordFoodsLitig.,790F.Supp.987,997(E.D.Cal.1991).
            ln thew ake ofthe recentdecision in N etchoice, LLC etal.,v.M oody et.al.

     4:21cv220-RH-M AF (N.
                         D .F.L2021)(page27ofDE 113),theAmiciwillprovideunique
     perspectivesproviding the two optionsthatthis Courthas, the optionsthatthe Defendantshave,


     narrow ly tailored to parallelthe spilitof Section 230 ofthe CD A so thatitfallssquarely in the
     state-law exemptionundersubsection(e)subparagraph(3)oftheSection230-therebygetting
     around the problem ofpreem ption.Here is aw ebsite forthebill:
            ho s://-     .specialforcesoqibto .coe .HertisashortvideosthattheAmiciprovidtto
     state legislatureswho prim e sponsor,co-sponsor, orsupportthebillso thatthey can easily
    understandthebillandtheissuesinvolved:(h% s'
                                               .//youO.be/CCcOAL> teM).
            Over25 statesm oved on two prim ary billsw ritttn to stop the on-going problem ofsocial
    m edia censorship thatw ere drafted by eitherDe Facto Attorneys GeneralorProfessor
    H am burgerofColum biaLaw school. CountlessRepublicans and D em ocratsprim e sponsored,
    co-sponsored,orsupported these legislativem easures. For abreakdown by state and by prim e
    sponsorforthe2021legislative session and the 2022 legislative session ofthe proposed language
    ofthe billsseeAppendix A .
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     and the optionsthe Plaintiffshave.4The public's interestisatstake here,which favorsgranting

     leave.SeeLibert
                   yRes.,Inc.v.Phila.Hous.Auth.,395F.Supp.2d206,209(E.D.Pa.2005).
     (Açcourtshavefound theparticipation ofan am icusespecially proper...wherean issueof
     generalpublicinterestisatstake.'')(citation om itted).Thisisbecausetheprimaryroleofan
     amicus isttto assistthe Courtin reaching therightdecision in a case affected with the interestof

     thegeneralpublic.''Russellv.Bd.ofplumbingExam 'rsoftheC@.of Westchester,74F.Supp.2d
     349,351(S.D.N.Y.1999),J.
                            #''
                              #,1F.App'x38(2dCir.2001).InLibertyResources,acase
     broughtby a disability rights advocacy group againsta public housing authority,the court

     granted am icus curiae statusto anotheradvocacy group thatrepresented residentsofpublic


     4PresidentTnzm p likesto win.So do the Amici. lfPlaintiffs wantto prevailin thislegalfight,
     notjustmakingapoliticalstatement,theyshouldtakethefollowingsteps:
            (1)seekleavetotemporarilyholdtheseproceedingsinabeyanceordelayservingprocess
     on the D efendantspursuantto FRCP 4'
                                        ,
            (2)PresidentTrumpshouldusehispersonalconnectionstopressGovemorDesantisto
     im m ediately hold a specialsession pursuantto Article 111,Section 3,ofthe Florida Constim tion,
     topasstheamendedversionofHB33,theiçstop SocialMediaCensorshipAct''(anarrowly
     tailoredstatebi-partisanstatutethat(a)parallelsthespiritofSection230andwasintentionally
     createdtofallinthestate-law exemptionundersubjection(e)subparagraph(3)ofSection230,
     that(b)over25statesintroducedthispastsession,andthat(c)doesnotsufferfrom thesame
     overtproblemspresented by SenateBill7072),   .
             (3)aftertheStopSocialM ediaCensorshipActisenacted,thePlaintiffsshouldthen
     reopen thiscase,am end theiroriginalcom plaintptzrsuantto FRCP 15 et.seq,asa m atterof
     course,to include a cause ofaction underthe Stop SocialM edia Censorship A ct,which willnot
     bepreem pted underthedoctrine ofpreem ption and w illcutthrough any Section 230 imm unity
     defense -thereby having thepotentialto solvethisongoing bi-partisan problem forthe whole of
     theN ation;
            (4)thePlaintiffsshouldalsoamendtheiroriginalcomplainttoincludeacauseofaction
     forfalse advertisingundertheLanham Act,l5U.S.C.jj 1051etseq,which isnotpreemption
     bysection230andwhichwillconferFederalQuestionjurisdictiononthisHonorableCourt;
            (5) IfGovernorDesantisrefusestocallaspecialsessionunderArticle111,Section3,to
     enactthe Stop SocialM edia Censorship A ctforwhatever reason,thePlaintiffs should am end
     theircomplaintandincludeacauseofactionunderj501.2041(6)whichmaystillbealiveand
     foundtofallinthestate-law cxemptionunder47U.S.C.j230(e)(3)'
                                                               ,
            (6)ThePlaintiffsshouldamendtheircomplaintandfileacauseofactionunderFlorida's
     existing deceptive trade practice law ,which the Courtm ightalso fallin the state-law exem ption
     undersection 230.
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    housing because the group'sparticipation ççw illserve to keep the Courtapprised ofthe interests

    ofnon-disabled Section 8 voucherrecipientswho m ay be affected by this case.''395 F.Supp.2d

    at210.Sim ilarly,Am icihere willrepresenttheirown interestsascensored consum ers,whose

    work w ith the state legislatures in 37 statesw illbe greatly im pacted by the outcom e ofthis case.

    Accordingly,thisCourtshould allow Am icito appear asam icicuriae and presentan argum entin

    partialsupportand in partialopposition to the initialcause ofaction presented by the Plaintiffs.

           C.C ON CLU SIO N

           Forthese reasons,Amicirespectl lly requestthatthisCourtenter an order granting Am ici

    leave to file thebriefattached hereto asExhibitA in supportofPlaintiffs.

                           LO CA L RULE 7.1 CERTIFICATE O F G O OD FM TH

           Theundersigned contacted a11partiesvia telephone orem ailin a good faitb effortto

    resolve the issuesraised in the m otion.U ndersigned contacted Facebook'sin-house counselwho

    did nottake a position one way oranother.TheA m icirepeatedly called and em ailed Plaintiffs'

    counsel,who did notrespond.
                                                  /
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           ps/christooherSevierEsa./ U'.,.
                                         --e!-'u>-h''
           DE FA CTO ATTORNEY S G EN ERAL
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           ghostwarsmusic@ gmail.com
           ww m specialforcesotlibety com
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           DE FACTO ATTORN EY S G EN ERAL
Case 1:21-cv-22440-KMW Document 27 Entered on FLSD Docket 08/04/2021 Page 12 of 12




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           Attorney On BehalfOfSpecialForcesO fLiberty &
           W arriorsForChrist

                                       C ERTIFICATE O F SERVICE

                 A true copy ofthe foregoing was em ailed and/orm ailed to the follow ing address
           on August2,2021fortheA ttorneysofrecord:Frank C.Dudenhefer,Jr.The Dudenhefer
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